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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

REYNALDO MUNOZ,                             )
                                            )   No. 23 CV 3210
                          Plaintiff,        )
                                            )
      v.                                    )   Magistrate Judge Young B. Kim
                                            )
REYNALDO GUEVARA, et al.                    )
                                            )   April 7, 2025
                          Defendants.       )

                    MEMORANDUM OPINION and ORDER

      Plaintiff Reynaldo Munoz alleges that six police officers (“Defendant

Officers”) violated constitutional and state laws when arresting, prosecuting, and

convicting him for the 1985 murder of Ivan Mena and attempted murder of Bouvier

“Bobby” Garcia, causing Plaintiff to spend 30 years behind bars.       Plaintiff also

brings a Monell claim against the City of Chicago (the “City”) alleging it failed to

train, supervise, and discipline Defendant Officers and endorsed policies, practices,

and customs that led to the prosecution of innocent individuals like him.

      Before the court are Plaintiff’s and Defendant Officers’ motions to compel

subpoena respondent Cook County State’s Attorney’s Office (“CCSAO”) to produce

information it has withheld based on work product (“WP”) doctrine, deliberative

process privilege (“Privilege”), and personal identity information (“PII”) and LEADS

data (“LEADS”) objections. For the following reasons, the motions are granted as to

all documents listed on CCSAO’s privilege log (“Privilege Log”), except that CCSAO
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may redact PII prior to production of the withheld documents only as allowed by the

Confidentiality Order) and may withhold Document CCSAO_001471 in its entirety:

                                    Background

      The State of Illinois moved to dismiss charges against Plaintiff in the

underlying criminal action (“Underlying Action”) in August 2022 and awarded him

a certificate of innocence in March 2023. (R. 62, Am. Compl. ¶¶ 14-15.) Plaintiff

brought this case shortly thereafter. (See generally R. 1, Compl.) On October 4,

2023, Defendant Officers issued a subpoena to CCSAO (“Officers’ Subpoena”),

seeking documents related to the prosecution file from the Underlying Action,

including police reports, felony review materials, physical evidence, witness

statements, investigators’ materials, and court records. (R. 160, Def. Officers’ Mot.

at 3 & Ex. A (Officers’ Subpoena).) In response, CCSAO produced documents on

January 12, 2024, but withheld certain information based on the asserted

protections. (Id. at 3 & Exs. B (CCSAO’s Priv. Log), C (Redacted Docs.).) CCSAO

supplemented its production on February 14 and December 30, 2024, producing

Plaintiff’s recorded interview and grand jury and medical records. (Id. at 3.)

      Plaintiff issued his own subpoena to CCSAO on September 20, 2024

(“Plaintiff’s Subpoena”), requesting many of the same documents Officers’ Subpoena

sought. (R. 157, Pl.’s Mot. at 2 & Ex. C (Pl.’s Subpoena); see also R. 171, CCSAO’s

Consol. Resp. at 2 (agreeing that the subpoenas “duplicate one another”).) Plaintiff

then conferred with CCSAO to determine whether CCSAO would disclose to him its

productions and Privilege Log. (R. 157, Pl.’s Mot. at 2-4.) CCSAO sent Plaintiff the




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requested documents in the same form produced to Defendant Officers on November

7, 2024, and supplemented its production on December 30, 2024. (Id. at 3-4.) But

Plaintiff complained to CCSAO that the Privilege Log entries lack sufficient detail

to assess the validity of the grounds asserted, as required by Federal Rule of Civil

Procedure 26(b)(5). (Id. at 3-4 & Ex. D at 9-10, 25-26). CCSAO declined to amend

its Privilege Log. (See id. at 4-5.)

       Plaintiff and Defendant Officers then moved to compel CCSAO to comply

with their subpoenas. (See generally R. 157, Pl.’s Mot.; R. 160, Def. Officers’ Mot.)

The court held a hearing on January 28, 2025, at which CCSAO indicated that it

disputes Plaintiff’s and Defendant Officers’ challenges to the sufficiency of the

Privilege Log. (R. 164.) The court ordered CCSAO to file a consolidated response to

the motions, (R. 164), and to email the withheld documents to the court for in

camera review, (R. 181).

                                       Analysis

       Pursuant to Federal Rule of Civil Procedure 45(d)(1), Plaintiff and Defendant

Officers must have “take[n] reasonable steps to avoid imposing undue burden or

expense” on CCSAO in serving their respective subpoenas. An entity subject to a

subpoena may serve written objections, id. at 45(d)(2)(B), and thereafter, “the

serving party may move the court for the district where compliance is required for

an order compelling production or inspection,” id. at 45(d)(2)(B)(1).    Whether to

enforce a subpoena is a “case-specific inquiry” with “no formula for determining

reasonableness,” and is left to the court’s discretion. Gaines v. Chi. Bd. of Educ.,




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No. 19 CV 775, 2022 WL 1292248, at *2 (N.D. Ill. April 29, 2022) (quotations

omitted). Having reviewed the parties’ and CCSAO’s submissions and inspected in

camera documents CCSAO emailed to the court, the court finds that CCSAO’s

objections are largely without merit. Plaintiff’s and Officers’ Subpoenas therefore

are enforced as to all documents listed on CCSAO’s Privilege Log except Document

CCSAO_001471.       The court also permits CCSAO to redact PII to the extent

permitted under the Confidentiality Order. (See R. 117 ¶ 6.)

A.      Privilege Log

        Plaintiff and Defendant Officers argue that CCSAO waived any protection

over the withheld documents based on delay or, in the alternative, failed to provide

enough detail to allow them to assess the validity of the objections asserted in the

Privilege Log. (R. 157, Pl.’s Mot. at 6-9; R. 160, Def. Officers’ Mot. at 5-7.) The

court rejects Plaintiff’s contention that CCSAO has waived asserting WP protection

or the Privilege because it did not timely produce its Privilege Log or responsive

documents. 1    (R. 157, Pl.’s Mot. at 6.)       Although it appears CCSAO had some

difficulty producing its first batch of responsive documents to Plaintiff, (see id.

Ex. D at 20-26), CCSAO represents that it “properly asked for an extension of

compliance,” (R. 171, CCSAO’s Consol. Resp. at 3), and the court finds no basis to

order a blanket waiver based on these circumstances.




1  In its Privilege Log, CCSAO provides other bases for withholding information
requested in Plaintiff’s and Officers’ Subpoenas, but because those bases do not
qualify as valid privileges or immunities, the court declines to address them.
(See R. 157, Ex. B.)

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      However, Plaintiff and Defendant Officers’ argument concerning the

sufficiency of the Privilege Log is persuasive.        Under Rule 45, a subpoena

respondent asserting privilege “must (1) expressly make the claim and (2) describe

the nature of the withheld documents in a manner that will enable the parties to

assess the claim.” Walls v. Vasselli, No. 19 CV 06468, 2022 WL 1004248, at *1

(N.D. Ill. April 4, 2022) (citing Fed. R. Civ. P. 45(e)(2)(A)). To be sure, a privilege

log must “identify for each separate document . . . the date, the author and all

recipients, along with their capacities, the subject matter of the document, the

purpose for its production and a specific explanation of why the document is

privileged.” RBS Citizens, N.A. v. Husain, 291 F.R.D. 209, 218 (N.D. Ill. 2013)

(emphasis in original) (internal quotations and citations omitted).

      As the entity withholding documents, CCSAO bears the burden of

establishing that a privilege applies.    See Urb. 8 Fox Lake Corp. v. Nationwide

Affordable Hous. Fund 4, LLC, 334 F.R.D. 149, 156 (N.D. Ill. 2020). And “because

evidentiary privileges operate to exclude relevant evidence and thereby block the

judicial fact-finding function, they are not favored and, where recognized, must be

narrowly construed.”    Walls, 2022 WL 1004248, at *2 (citing Mem’l Hosp. for

McHenry Cnty. v. Shadur, 664 F.2d 1058, 1061 (7th Cir. 1981) (internal quotations

omitted)).

      Here, CCSAO fails to satisfy Rule 45(e)(2)(A)(ii) because the Privilege Log

does not describe the withheld documents “in a manner that, without revealing

information itself privileged or protected,” allows the parties to assess the claims.




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The Privilege Log generally does not include dates of documents, names of

individuals who authored or received such documents, or the reasons such

documents were created.       (See generally R. 157, Ex. B.)      As for document

descriptions, CCSAO uses vague references such as “ASA [Assistant State’s

Attorney] Notes: trial tactics,” “Email between ASAs evidencing strategy,” “ASA

Notes: trial preparation,” “ASA strategy email,” “ASA Notes regarding strategy,”

“ASA Notes: trial tactics,” “CCSAO internal email regarding witness,” “Inter-office

emails between ASAs [and case analysis],” “Handwritten note,” and the like,

without providing any context as to the documents withheld. (See id.) As it stands,

the parties have no way of knowing whether CCSAO’s claims meet the

requirements for protection under the WP doctrine or Privilege. Thus, the Privilege

Log fails to meet Rule 45(e)(2)(A) requirements. See Surgery Ctr. at 900 N. Mich.

Ave., LLC v. Am. Physicians Assurance Corp., 317 F.R.D. 620, 632 (N.D. Ill. 2016)

(“A timely and adequate privilege log is required by the federal rules, and the

failure to serve [such a] privilege log may result in a waiver of any protection from

discovery.” (internal quotations and citation omitted)).

B.      WP & Privilege Objections

        Although CCSAO has not satisfied its burden with respect to the Privilege

Log, the court nonetheless ordered CCSAO to submit for in camera inspection the

documents it withheld based on the WP doctrine or Privilege. 2 (R. 181); see also



2  The court did not order CCSAO to submit for inspection withheld information
allegedly protected only by PII or LEADS, (see R. 157, Ex. B), because neither
qualifies as a valid privilege or immunity.

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Belcastro v. United Airlines, Inc., No. 17 CV 1682, 2019 WL 1651709, at *5 (N.D. Ill.

April 17, 2019) (“[T]he decision concerning the waiver of a privilege based on a

privilege log is discretionary.”). On March 6, 2025, CCSAO submitted 28 pages of

withheld information for the court’s inspection (“In Camera Documents”). 3

(Documents attached to the March 6, 2025 email from ASA David Adelman to

proposed_order_kim@ilnd.uscourts.gov sent at 4:58 p.m., copying Alexus Loredo and

Sherry Mack.) 4 Having reviewed the In Camera Documents, the court confirms

that the WP doctrine does not apply, and the Privilege precludes only Document

CCSSAO_001471 from production.

        1.    WP Doctrine

        Federal law governs the WP doctrine and shields from disclosure “documents

and tangible things that are prepared in anticipation of litigation or for trial by or

for [a] party or its representative.” Fed. R. Civ. P. 26(b)(3)(A). Notably, “while

litigation need not be imminent,” for the WP doctrine to apply, “the primary

motivating purpose behind the creation of a document or investigative report must

be to aid in possible future litigation.” Binks Mfg. Co. v. Nat’l Presto Indus., Inc.,

709 F.2d 1109, 1119 (7th Cir. 1983) (internal quotations and citation omitted). The

WP doctrine protects two types of work: (1) an attorney’s thought processes and



3 CCSAO lists additional pages in its Privilege Log as allegedly being covered by
the WP doctrine or Privilege, (see R. 157, Ex. B), but did not submit such pages to
the court for in camera inspection. As such, CCSAO waives WP protection or the
Privilege over any additional pages not submitted to the court.

4CCSAO must preserve this email in the event a review of this ruling is necessary.
The court prefers not to file these documents on the docket even under seal.

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mental impressions; and (2) an attorney’s fact-finding investigation. Sandra T.E. v.

S. Berwyn Sch. Dist. 100, 600 F.3d 612, 622 (7th Cir. 2010); see also Fed. R. Civ.

P. 26(b)(3)(B) (stating that the court “must protect against disclosure of the mental

impressions, conclusions, opinions, or legal theories of a party’s attorney or other

representative concerning the litigation”); Hobley v. Burge, 433 F.3d 946, 949 (7th

Cir. 2006) (explaining that Rule 26(b)(3) “establish[es] a zone of privacy in which

lawyers can analyze and prepare their client’s case free from scrutiny or

interference by an adversary” (citation omitted)).

      CCSAO argues that the WP doctrine applies to certain In Camera

Documents, even though those documents relate to a state criminal case arising

from a murder and attempted murder that occurred nearly 40 years ago.

(See R. 171, CCSAO’s Resp. at 6-7.) CCSAO contends that “the civil and criminal

cases are sufficiently related” and, therefore, the WP doctrine covers CCSAO’s

thought processes, mental impressions, and fact-finding investigations—not only in

the earlier criminal case but also in this civil case. (Id.) For support, CCSAO cites

in part to the Seventh Circuit’s decision in Hobley, 433 F.3d at 949, in which the

court noted that “[a] majority of courts have held . . . that the [WP doctrine] endures

after termination of the proceedings for which the documents were created,

especially if the old and new matters are related.” (R. 171, CCSAO’s Resp. at 6.)

But when vacating the trial court’s discovery sanction in Hobley, the Seventh

Circuit made clear that “‘privilege claims [still] may be tested under the normal

procedures for attorney work product.’” 433 F.3d at 952. In other words, the entity




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seeking to shield information disclosed in an earlier case must establish that the

information was prepared for possible use in the present case. See id.

      For example, in Webster Bank N.A. v. Pierce & Associates, No. 16 CV 2522,

2018 WL 704693, at *4 (N.D. Ill. Feb. 5, 2018), the court confirmed that to qualify

for WP protection, the entity seeking such status must show a sufficient nexus

between the underlying action and the current one. “The case law makes clear that

[the WP] doctrine protects parties from sharing their materials developed for the

present case, but not necessarily for an earlier matter. This is because ‘the purpose

of [WP] privilege is to hide internal litigation preparations from adverse parties.”

Id. (emphasis in original). While CCSAO cites Webster for the rule that the WP

doctrine may apply “where the underlying and present litigation are related,”

(R. 171, CCSAO’s Resp. at 6 (quoting Webster, 2018 WL 704693, at *4)), the court

there clarified that the key inquiry is “whether, in light of the factual context, ‘the

document[s] can fairly be said to have been prepared or obtained because of the

prospect of litigation,’” Webster, 2018 WL 704693, at *4. The WP protection thus

extends only to “documents prepared because an ‘articulable claim’ that is ‘likely to

lead to litigation’ has arisen.” Id.

      More recently, this court addressed the same issue presented here, where

CCSAO prosecuted the criminal case out of which civil claims arose and asserted

the WP protection over prosecution files in the subsequent civil case. In Williams v.

City of Chicago, No. 22 CV 3773, 2023 WL 6213716, at *3 (N.D. Ill. Sept. 25, 2023),

this court “declin[ed] to stray from the clear line of cases holding that ‘the work




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product doctrine does not protect a prosecutor’s files in a subsequent, related civil

action.’” Id. (citing Hill v. City of Chi., No. 13 CV 4847, 2015 WL 12844948, at *2

(N.D. Ill. May 28, 2015) (collecting cases)). As is the case here, CCSAO was not a

party to the civil action in Williams and did not have an attorney-client relationship

with any of the parties in that civil case. Id. Accordingly, the court found the WP

doctrine inapplicable. Id. (citing Walls, 2022 WL 1004248, at *2; Hobley, 433 F.3d

at 949). Notably, CCSAO does not mention Williams in its consolidated response.

(See generally R. 171, CCSAO’s Consol. Resp.)

        Erring on the side of caution, the court ordered CCSAO to submit the

In Camera Documents for inspection in part to determine whether CCSAO prepared

them in anticipation of the current litigation.     (See R. 181.)   The five sets of

documents CCSAO submitted for in camera inspection clearly were not. 5 The first

consists of an email thread dated May 5, 2022, between ASAs Stacia Weber, Joy

Tolbert Nelson, Douglas Harvath, Enrique Abraham, and Joseph Alexander, and

addresses the statutory term for an individual on bond under Illinois law.

(CCSAO_000768 and 000769.) The second is an email thread, exchanged between

August 8 and 11, 2022, among ASAs Nelson, Karin Swanson, Renee Thibault, Risa

Lanier, Ethan Holland, and Abraham, concerning whether to retry or dismiss the

criminal case against Plaintiff. (CCSAO_001453-56.) The third document, titled

“Work Product Memorandum,” was prepared by ASA Nelson and sent to ASAs



5   Because CCSAO asserts that the WP doctrine and Privilege protect the
In Camera Documents from disclosure, the court refers to the subject matter of the
Documents only to the extent necessary to explain its decision.

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Holland, Thibault, and Swanson, and offers a more fulsome analysis of whether to

nullify the criminal charges against Plaintiff, with the draft including handwritten

notes dated August 5, 2022, and the final version dated August 12, 2022.

(CCSAO_001457-71.)        The fourth document, dated February 4, 2008, and titled

“MEMO TO FILE,” includes ASA Audrey Yang’s “legal analysis and mental

impressions,” (see R. 157, Ex. B at 6), regarding Yang and ASA Molly Brown’s

jailhouse   interview     of     Plaintiff   in    connection   with   his   criminal   case.

(CCSAO_001473-75.) The fifth document, titled “General Notes on [Plaintiff]” but

undated, relates to an unidentified ASA’s “trial preparation,” according to CCSAO’s

Privilege Log.    (CCSAO_001487-90; see also R. 157, Ex. B at 6.) None of these

In Camera Documents satisfies the requirements to qualify as protected WP in this

case because CCSAO did not—and cannot—establish that they were prepared

because of “an ‘articulable claim’ . . . likely to lead to [the current] litigation.’”

Webster, 2018 WL 704693, at *4. Thus, the WP doctrine does not shield them from

disclosure in this civil case.

       2.     Privilege

       CCSAO fares only slightly better with respect to its Privilege assertion. The

Privilege is “a form of executive privilege,” which was developed as an exception to

the Freedom of Information Act (“FOIA”) to “protect[] ‘inter-agency or intra-agency

memorandums or letters that would not be available by law to a party other than an

agency in litigation with the agency.’” U.S. Fish & Wildlife Serv. v. Sierra Club, 592

U.S. 261, 267 (2021) (citing 5 U.S.C. § 552(b)(5)).             The Privilege serves “[t]o




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encourage candor” and “blunt[] the chilling effect that accompanies the prospect of

disclosure,” thereby enabling officials to “communicate candidly among themselves”

without fear of “each remark [becoming] a potential item of discovery and front page

news.” Id. (internal quotations and citation omitted). To this end, the Privilege

“allows an agency to withhold ‘all papers which reflect the agency’s group thinking

in the process of working out its policy and determining what its law shall be.’”

Nat’l Immigrant Just. Ctr. v. U.S. Dep’t of Just., 953 F.3d 503, 508 (7th Cir. 2020)

(citation omitted)). That said, the Privilege is not “unlimited”—to the contrary, the

Supreme Court has “repeated[ly] admoni[shed]” that “FOIA exemptions [must be

construed] ‘with a narrow compass.’” Id. (citing Dep’t of Interior v. Klamath Water

Users Prot. Ass’n, 532 U.S. 1, 8-9 (2001)). As a result, the Privilege applies only to

documents that are “predecisional—generated before the adoption of an agency

policy—and deliberative—reflective of the give and take of the consultative

process.” Saunders v. City of Chi., No. 12 CV 9158, 2015 WL 4765424, at *9 (N.D.

Ill. Aug. 12, 2015).

       As such, to withhold subpoenaed documents based on the Privilege:

       (1) the department head with control over the matter must make a
       formal claim of privilege, after personal consideration of the problem;
       (2) the responsible official must demonstrate, typically by affidavit,
       precise and certain reasons for preserving the confidentiality of the
       documents in question; and (3) the official must specifically identify
       and describe the documents.

Evans v. City of Chi., 231 F.R.D. 302, 316 (N.D. Ill. 2005) (citation omitted). If this

prima facie showing is made, the court then determines whether the Privilege

should be recognized. If yes, the requesting party has the burden of demonstrating



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a “particularized need for the documents.” Id. (quotations and citations omitted).

To determine whether a particularized need exists, the court balances the

requesting party’s:

      need for disclosure against the government’s need for secrecy,
      considering such factors as (1) the relevance of the documents to the
      litigation; (2) the availability of other evidence that would serve the
      same purpose as the documents sought; (3) the government’s role in
      the litigation; (4) the seriousness of the litigation and the issues
      involved in it; and (5) the degree to which disclosure of the documents
      sought would tend to chill future deliberations within government
      agencies, that is, would hinder frank and independent discussion about
      governmental policies and decisions.

K.L. v. Edgar, 964 F. Supp. 1206, 1209 (N.D. Ill. 1997).

      Here, ASA Lyle Henretty submitted a declaration asserting that the Privilege

applies to all In Camera Documents because they reflect CCSAO’s “process and

underlying decision-making set forth in ASA notes” and “internal memoranda.”

(R. 171, CCSAO’s Consol. Resp. Ex. 5 ¶¶ 6-7.)        Henretty does not specifically

identify or describe the In Camera Documents or explain how they qualify as

predecisional or deliberative for purposes of the Privilege.        Furthermore, he

concedes that “some of the notes are arguably factual.” (Id. ¶ 8.) And Henretty

admits that he has “asserted and continue[s] to assert the deliberative process as

well as the [WP doctrine] over materials related to the CSSAO decisions concerning

litigation generally, unless there is a specific reason not to do so.” (Id. ¶ 9.) In a

case also involving Defendant Guevara and presented with similar attestations in a

declaration by Henretty, another judge in this District recently commented that

Henretty’s declaration “only serves to raise additional questions” regarding




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CCSAO’s assertion of the Privilege. Gonzalez v. Guevara, No. 23 CV 14281, 2025

WL 755798, at *4 (N.D. Ill. March 10, 2025). This court shares that sentiment.

      Henretty’s declaration does little to assuage the court that CCSAO has

satisfied its prima facie showing that the Privilege applies here. Indeed, Henretty

provides only general descriptions of withheld documents, without any context or

explanation as to the “precise and certain reasons for preserving the confidentiality”

of that information. Evans, 231 F.R.D. at 316. Henretty also makes no effort to

parse fact from protected information, which is important given that the Privilege

“does not extend to factual or objective material.” K.L., 964 F. Supp. at 1208. And

Henretty suggests that he asserts both the WP doctrine and Privilege

interchangeably to shield “materials related to [] CCSAO decisions concerning

litigation generally.” (R. 171, CCSAO’s Consol. Resp. ¶ 9.) This last statement is

perhaps the most troubling because it lays bare what the court already suspected—

that CCSAO is conflating the WP doctrine and Privilege to make an end-run around

the gap in WP protection through a broad and improper application of the Privilege.

See Nat’l Immigrant Just. Ctr., 953 F.3d at 508 (“FOIA exemptions [must be

construed] ‘with a narrow compass.’”).

      Despite its concerns about Henretty’s declaration and CCSAO’s assertion of

the Privilege here, the court undertook an in camera inspection of the subject

documents.    Although a few portions of the In Camera Documents qualify for

protection under the Privilege, the court finds that CCSAO has not established that

all In Camera Documents qualify as predecisional or deliberative discussions




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reflecting the agency’s analysis of policy issues. See id. This is true with respect to

the redacted portions in Documents CCSAO_000768 and 000769. Both pages must

be produced to Plaintiff and Defendant Officers because they merely provide

information about how to calculate a statutory term for an individual on bond under

Illinois law—and are neither predecisional nor deliberative.

      Furthermore, the court’s inspection confirms that much of the remaining

redacted information relates to summaries of facts, relevant legal authority, or

procedural history associated with CCSAO’s prosecution of the Underlying Action,

and these communications are not “inextricably intertwined” with deliberative

policy-making discussions. Enviro Tech Int’l Inc. v. United States. E.P.A., 371 F.3d

370, 374-75 (7th Cir. 2004).        In accordance with this ruling, Documents

CCSAO_001454-62 (excluding CCSAO_001454 except “Charge” and “Trial Judge”

and excluding “Recommendation” on CCSAO_001455), 001464-69 (excluding

“Recommendation” on CCSAO_001469), 001473-75, and 001487-90 must be

produced in response to Plaintiff’s and Officers’ Subpoenas.

      By contrast, the redacted portions of Documents CCSAO_001453-55 (until

“Charge” on 001454 and beneath “Recommendation” on CCSAO_001455), 001463,

001469 (beneath “Recommendation” and handwritten comments in same section,

and 001470) qualify for protection under the Privilege, at least in the first instance,

because the agency deliberations and recommendations center on whether—in

August 2022, as part of post-conviction proceedings—CCSAO should retry the case

or dismiss the charges against Plaintiff.         More specifically, the challenged




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redactions discuss the reasoning behind CCSAO’s decision to move to nullify the

charges against Plaintiff. See Gonzalez, 2025 WL 755798, at *2 (stating that the

Privilege protects “communications that are part of the decision-making process of a

governmental agency,” including “advisory opinions, recommendations[,] and

deliberations” (internal quotations and citations omitted)).    Similarly, Document

CCSSAO_001471 qualifies as Privileged because the handwritten and typed notes

discuss an agency policy relating to pattern and practice cases. See id.

      Because the court finds that the Privilege applies to a subset of information

in the In Camera Documents, the court next must consider whether Plaintiff and

Defendant Officers have demonstrated a “particularized need” for that subset of

information. K.L., 964 F. Supp. at 1209. Balancing the parties’ need for disclosure

against CCSAO’s need for secrecy, and considering the relevant factors set forth

above, the court finds that the balancing test weighs in favor of Plaintiff and

Defendant Officers with respect to Documents CCSAO_001453-55, 001463, 001469,

and 001470. These Documents, which discuss CCSAO’s decision to nolle charges

against Plaintiff, are no doubt relevant to this litigation.    To be sure, whether

CCSAO dismissed criminal charges against Plaintiff based on actual innocence

matters both to Plaintiff, who asserts malicious prosecution claims in this case, and

to Defendant Officers, who seek to show that CCSAO dismissed the case against

Plaintiff for other reasons.   The level of seriousness of these Documents to the

parties in this matter is significant, and CCSAO has not pointed to other evidence

from any other party that could serve the same purpose. And even though CCSAO




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is a non-party here, this action arises from CCSAO’s prosecution of Plaintiff.

Finally, the court cannot say that disclosure of this subset of information would chill

future CCSAO deliberations as to whether to nolle a case. Accordingly, CCSAO

must produce Documents CCSAO_001453-55, 001463, 001469, and 001470 in their

entirety.

      As to Document CCSSAO_001471, however, the balancing test weighs in

favor of CCSAO. This document relates to agency deliberations regarding pattern

and practice cases. See id. Plaintiff and Defendant Officers have not shown a

“particularized need” for such information, K.L., 964 F. Supp. at 1209, and while

other evidence may not provide the same type of information, the withheld

information is not relevant to the parties’ claims or defenses but rather involves

CCSAO’s strategy decisions relating to these types of cases generally. Disclosure of

such information “would tend to chill future deliberations within government

agencies . . . and hinder frank and independent discussion about governmental

policies and decisions.” Id. As such, the Privilege protects this document from

disclosure.

      For clarity, the court provides the following table identifying which

In Camera Documents must be disclosed and which may be withheld as Privileged.




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        Documents                                    Ruling

                             These documents must be produced because they
     CCSAO_000768 and        merely provide information about how to calculate a
         000769              statutory term for an individual on bond under Illinois
                             law and are neither pre-decisional nor deliberative.
                             These documents must be produced because Plaintiff
   CCSAO_001453-55,
                             and Defendant Officers have demonstrated a
001463, 001469 & 001470
                             particularized need for such information.
                             These documents must be produced because they
                             generally relate to summaries of facts, relevant legal
   CCSAO_001454-62,
                             authority, or procedural history associated with
 001464-69, 001473-75 &
                             CCSAO’s prosecution of the Underlying Action and are
       001487-90
                             not “inextricably intertwined” with deliberative policy-
                             making discussions.
                             This document need not be produced as it concerns the
      CCSAO_001471           deliberation of CCSAO strategy regarding litigating
                             pattern and practice cases.

C.     Non-Privilege Objections

       CCSAO’s Privilege Log also includes a significant number of documents

CCSAO has redacted as reflecting PII and LEADS information, (see generally

R. 157, Ex. B), but CCSAO must produce such information, except as permitted

under the Confidentiality Order in this case, (see R. 117; see also R. 73; R. 149).

Moreover, neither PII nor LEADS qualifies as a valid privilege or immunity and, as

such, this information should not be withheld or described as “privileged.” The

better course of action is to mark sensitive information as “confidential” so that the

receiving parties treat them accordingly.




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         1.      PII

         Plaintiff notes that CCSAO includes “232 line-items of [PII]” in its Privilege

Log. (R. 157, Pl.’s Mot. at 14 & Ex. B.) CCSAO acknowledges that it includes in its

Privilege Log documents with redactions for personal data, social security numbers,

telephone numbers, dates of birth, and juror names.         (R. 171, CCSAO’s Consol.

Resp. at 10-11.)       CCSAO claims it is justified in doing so because Illinois law

protects PII of crime victims, as well as that of citizens generally where it relates to

“social security numbers, driver’s license numbers, medical information, and

personal contact information.” (Id. at 11 (citing generally 725 ILCS § 120/4; 815

ILCS 530).) However, courts in this District have found that “[n]either of these

statutes permits [] CCSAO to withhold from federal civil discovery the [PII

requested] in the subpoenaed documents” and that governing protective orders

provide adequate protection for the PII sought. Cruz v. Guevara, No. 23 CV 4268,

Dkt. No. 147 at 8-11 (N.D. Ill. April 10, 2024); see also Gonzalez, 2025 WL 755798,

at *8.        This court adopts the same reasoning and finds in accord with that

persuasive authority.

         CCSAO also notes that the Confidentiality Order in this case, (see R. 117

¶ 6), permits redactions of PII relating to “social security numbers, dates of birth,”

and other specified information, (R. 171, CCSAO’s Consol. Resp at 11).              But

CCSAO’s reliance on this portion of the Confidentiality Order is misplaced.

Paragraph 6 of the Confidentiality Order, (R. 117), says the following:

         Notwithstanding the foregoing provisions, the responding party shall
         have the right to redact from all documents produced in discovery



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      social security numbers, dates of birth, and information covered by the
      Juvenile Court Act, as well as, for security reasons, all references to a
      current or former individual police officer’s personal identifying
      information about them and their family, including but not limited to,
      social security number, home address, home and cellular telephone
      numbers, personal email addresses, the names of family members and
      the names of insurance beneficiaries.

As such, this paragraph only covers PII falling within the purview of the Juvenile

Court Act and PII of current and former law enforcement officers and their family

members.    Although CCSAO expresses concern about protecting PII of crime

victims, jurors, and other community members, (R. 171, CCSAO’s Consol. Resp. at

10-11), Plaintiff makes clear that he needs identifying information for witnesses to

the alleged crimes and “alternative third-party perpetrators,” (R. 157, Pl.’s Mot. at

14). CCSAO therefore must produce the PII requested in Plaintiff’s and Defendant

Officers’ Subpoenas, except as precluded under the Confidentiality Order.

      2.     LEADS Data

      Finally, CCSAO must produce the LEADS data.           CCSAO represents that

“LEADS data is generated and maintained by the Illinois State Police and is a form

of criminal record/background check software.” (R. 171, CCSAO’s Consol. Resp. at

11-12.) CCSAO argues that Illinois law, codified under 20 Ill. Adm. Code 1240.80,

prohibits the dissemination of LEADS data “to any individual or organization that

is not legally authorized to have access to the information.”      (R. 171, CCSAO’s

Consol. Resp. at 12.) Plaintiff does not explain how such information relates to the

parties’ claims or defenses here. (See generally R. 157, Pl.’s Mot.) At the same

time, however, CCSAO does not dispute the relevance of such information.




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(See generally R. 171, CCSAO’s Consol. Resp.) Regardless, courts in this District

have made clear that “the Illinois Administrative Code does not usurp the authority

of federal courts to order discovery of LEADS reports.” Martinez v. Guevara, No. 23

CV 1741, Dkt. No. 203 at 10, 13-15 (N.D. Ill. Nov. 15, 2024); see also Gonzalez, 2025

WL 755798, at *5; Cruz, No. 23 CV 4268, Dkt. No. 147 at 12. Simply put, because

“LEADS data is not protected by any cognizable federal privilege authorizing the

withholding of the documents at issue here,” Schaeffer v. City of Chi., No. 19 CV

7711, 2020 WL 7395217, at *2-3 (N.D. Ill. Dec. 15, 2020), CCSAO must produce the

withheld LEADS data.

                                    Conclusion

      For the foregoing reasons, the motions are granted and CCSAO must

promptly produce all documents listed on its Privilege Log in response to Plaintiff’s

and Defendant Officers’ Subpoenas, except Document CCSAO_001471 and PII

permitted to be redacted under the Confidentiality Order.

                                              ENTER:


                                              ____________________________________
                                              Young B. Kim
                                              United States Magistrate Judge




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